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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                            KONINKLIJKE PHILIPS N.V., et al.,
                                   7                                                     Case No. 18-cv-01885-HSG
                                                          Plaintiffs,
                                   8
                                                   v.                                    ORDER ON ADMINISTRATIVE
                                   9                                                     MOTIONS TO SEAL
                                            ACER INC., et al.,
                                  10
                                                          Defendants.
                                  11                                                     Re: Dkt. Nos. 440, 450, 467, 469, 471, 474

                                  12
Northern District of California
 United States District Court




                                            KONINKLIJKE PHILIPS N.V., et al.,
                                  13                                                     Case No. 18-cv-01886-HSG
                                                          Plaintiffs,
                                  14
                                                   v.                                    ORDER ON ADMINISTRATIVE
                                  15                                                     MOTIONS TO SEAL
                                            ASUSTEK COMPUTER INC., et al.,
                                  16
                                                          Defendants.
                                  17                                                     Re: Dkt. Nos. 397, 407, 437, 439, 442

                                  18
                                            KONINKLIJKE PHILIPS N.V., et al.,
                                  19                                                     Case No. 18-cv-01887-HSG
                                                          Plaintiffs,
                                  20
                                                   v.                                    ORDER ON ADMINISTRATIVE
                                  21                                                     MOTIONS TO SEAL
                                            HTC CORP, et al.,
                                  22
                                                          Defendants.                    Re: Dkt. No. 297
                                  23

                                  24

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                                  27   //

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                                         Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 2 of 9



                                         KONINKLIJKE PHILIPS N.V., et al.,
                                   1                                                        Case No. 18-cv-01888-HSG
                                                        Plaintiffs,
                                   2
                                                 v.                                         ORDER ON ADMINISTRATIVE
                                   3                                                        MOTIONS TO SEAL
                                         VISUAL LAND, INC.,
                                   4
                                                        Defendants.
                                   5                                                        Re: Dkt. Nos. 371, 379, 397, 399, 401

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                                   7
                                         KONINKLIJKE PHILIPS N.V., et al.,
                                   8                                                        Case No. 18-cv-01890-HSG
                                                        Plaintiffs,
                                   9                                                        ORDER ON ADMINISTRATIVE
                                                 v.                                         MOTIONS TO SEAL
                                  10
                                         YIFANG USA, INC.,
                                  11                                                        Re: Dkt. Nos. 351, 360, 377, 379, 381
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          Pending before the Court are the parties’ administrative motions to seal various documents

                                  15   pursuant to Civil Local Rule 79-5. Dkt. Nos. 440, 450, 467, 469, 471, 474 (Case No. 18-cv-

                                  16   01885-HSG); Dkt. Nos. 397, 407, 437, 439, 442 (Case No. 18-cv-01886-HSG); Dkt. No. 297

                                  17   (Case No. 18-cv-01887-HSG); Dkt. Nos. 371, 379, 397, 399, 401 (Case No. 18-cv-1888-HSG);

                                  18   Dkt. Nos. 351, 360, 377, 379, 381 (Case No. 18-cv-1890-HSG).

                                  19     I.   LEGAL STANDARD
                                  20          Courts generally apply a “compelling reasons” standard when considering motions to seal

                                  21   documents. Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010) (quoting Kamakana

                                  22   v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)). “This standard derives from

                                  23   the common law right ‘to inspect and copy public records and documents, including judicial

                                  24   records and documents.’” Id. (quoting Kamakana, 447 F.3d at 1178). “[A] strong presumption in

                                  25   favor of access is the starting point.” Kamakana, 447 F.3d at 1178 (quotation omitted). To

                                  26   overcome this strong presumption, the party seeking to seal a judicial record attached to a

                                  27   dispositive motion must “articulate compelling reasons supported by specific factual findings that

                                  28   outweigh the general history of access and the public policies favoring disclosure, such as the
                                                                                        2
                                         Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 3 of 9




                                   1   public interest in understanding the judicial process” and “significant public events.” Id. at 1178-

                                   2   79 (quotation omitted). “In general, ‘compelling reasons’ sufficient to outweigh the public’s

                                   3   interest in disclosure and justify sealing court records exist when such ‘court files might have

                                   4   become a vehicle for improper purposes,’ such as the use of records to gratify private spite,

                                   5   promote public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179

                                   6   (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). “The mere fact that the

                                   7   production of records may lead to a litigant’s embarrassment, incrimination, or exposure to further

                                   8   litigation will not, without more, compel the court to seal its records.” Id.

                                   9          The Court must “balance[] the competing interests of the public and the party who seeks to

                                  10   keep certain judicial records secret. After considering these interests, if the court decides to seal

                                  11   certain judicial records, it must base its decision on a compelling reason and articulate the factual

                                  12   basis for its ruling, without relying on hypothesis or conjecture.” Id. Civil Local Rule 79-5
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                                  13   supplements the compelling reasons standard set forth in Kamakana: the party seeking to file a

                                  14   document or portions of it under seal must “establish[] that the document, or portions thereof, are

                                  15   privileged, protectable as a trade secret or otherwise entitled to protection under the law . . . The

                                  16   request must be narrowly tailored to seek sealing only of sealable material.” Civil L.R. 79-5(b).

                                  17          Records attached to nondispositive motions, however, are not subject to the strong

                                  18   presumption of access. See Kamakana, 447 F.3d at 1179. Because such records “are often

                                  19   unrelated, or only tangentially related, to the underlying cause of action,” parties moving to seal

                                  20   must meet the lower “good cause” standard of Rule 26(c) of the Federal Rules of Civil Procedure.

                                  21   Id. at 1179-80 (quotation omitted). This requires only a “particularized showing” that “specific

                                  22   prejudice or harm will result” if the information is disclosed. Phillips ex rel. Estates of Byrd v.

                                  23   Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002); see also Fed. R. Civ. P. 26(c).

                                  24   “Broad allegations of harm, unsubstantiated by specific examples of articulated reasoning” will

                                  25   not suffice. Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992) (quotation

                                  26   omitted).

                                  27    II.   DISCUSSION

                                  28          The various documents and portions of documents the parties seek to seal are more than
                                                                                          3
                                            Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 4 of 9




                                   1   tangentially related to the underlying cause of action, and the Court therefore applies the

                                   2   “compelling reasons” standard. The parties have provided a compelling interest in sealing

                                   3   portions of the various documents listed below because they contain confidential business

                                   4   information relating to the operations of various Defendants. See Apple Inc. v. Samsung Elecs.

                                   5   Co., Ltd., No. 11-CV-01846-LHK, 2012 WL 6115623 (N.D. Cal. Dec. 10, 2012); see also Finjan,

                                   6   Inc. v. Proofpoint, Inc., No. 13-CV-05808-HSG, 2016 WL 7911651, at *3 (N.D. Cal. Apr. 6,

                                   7   2016); PQ Labs, Inc v. Qi, No. C 12-1885-450 CW, 2014 WL 4617216, at *1 (N.D. Cal. Sept. 15,

                                   8   2014). The parties have identified portions of the unredacted versions of motions and exhibits as

                                   9   containing confidential business information; the Court finds sufficiently compelling reasons to

                                  10   grant the motions to file the below-indicated portions under seal.

                                  11            For other documents listed below, the parties have failed to narrowly tailor the redactions

                                  12   to confidential business information.1
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                                  13            The parties request the following portions of the various documents be sealed:

                                  14
                                           Docket Number        Document                  Portion(s) Sought to be Sealed     Ruling (basis)
                                  15
                                           Public/(Sealed)
                                  16       1885-450-3; 1886-    Plaintiffs’ Motion to     Redacted portions identified in    GRANTED
                                           407-3;1888-379-3;    Consolidate               public filing
                                  17       1890-360-3/(1885-
                                           440-3; 1886-397-
                                  18       16; 1888-371-15;
                                           1890-351-16)
                                  19
                                           No Public Version    Ex. 2, Microsoft’s        Entire document                    DENIED (not
                                  20       Filed/(1885-440-4;   Supplemental                                                 narrowly
                                           1886-397-4; 1888-    Responses/Objections                                         tailored, no
                                  21       371-3; 1890-351-4)   to Philips’                                                  supporting
                                                                Interrogatories                                              declaration)
                                  22       1886-404-1/(1885-    Ex. 3, Excerpts from      Redacted portions identified in    GRANTED
                                  23       440-5; 1886-397-5;   Jian Depo.                public filing
                                           1888-371-4; 1890-
                                  24       351-5)
                                           1885-447-1/(1885-    Ex. 4, Excerpts from      Redacted portions identified in    GRANTED
                                  25       440-6; 1886-397-6;   Huang Depo.               public filing
                                  26
                                  27
                                       1
                                        A number of the parties’ proposed redactions indicate that they are contingent upon a different
                                       party filing a declaration in support of those portions sought to be redacted. As evidenced in the
                                  28   chart, the Court DENIES the sealing of documents relating to CBI for which no party has provided
                                       support.
                                                                                          4
                                        Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 5 of 9



                                       1888-371-5; 1890-
                                   1   351-6)
                                   2   1886-404-1/(1885-    Ex. 5, Excerpts from   Redacted portions identified in   GRANTED
                                       440-7; 1886-397-7;   Lai Depo.              public filing
                                   3   1888-371-6; 1890-
                                       351-7)
                                   4   1890-359-1/(1885-    Ex. 6, Excerpts from   Redacted portions identified in   GRANTED
                                       440-8; 1886-397-8;   Zhong Depo.            public filing
                                   5
                                       1888-371-7; 1890-
                                   6   351-8)
                                       1885-447-2/(1885-   Ex. 7,                  Redacted portions identified in   GRANTED
                                   7   440-9; 1886-397-9;  Objections/Responses    public filing
                                       1888-371-8; 1890-   to Philips’
                                   8   351-9)              Interrogatories
                                   9   1885-447-3/(1885-   Ex. 8, First            Redacted portions identified in   GRANTED
                                       440-10; 1886-397-   Supplemental            public filing
                                  10   10; 1888-371-9;     Objections/Responses
                                       1890-351-10)        to Philips’
                                  11                       Interrogatories
                                       1886-404-2/(1885-   Ex. 9,                  Entire document                   DENIED (not
                                  12
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                                       440-11; 1886-397-   Objections/Responses                                      narrowly
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                                  13   11; 1888-371-10;    to Philips’                                               tailored, no
                                       1890-351-11)        Interrogatories to                                        supporting
                                  14                       Asus                                                      declaration)
                                       No Public Version Ex. 13,                   Entire document                   DENIED (not
                                  15   Filed/(1885-440-12; Objections/Responses                                      narrowly
                                       1886-397-12; 1888- to Philips’                                                tailored, no
                                  16
                                       371-11; 1890-351-   Interrogatory to Acer                                     supporting
                                  17   12)                                                                           declaration)
                                       No Public Version Ex. 14,                   Entire document                   DENIED (not
                                  18   Filed/(1885-440-13; Objections/Responses                                      narrowly
                                       1886-397-13; 1888- to Philips’                                                tailored, no
                                  19   371-12; 1890-351-   Interrogatory to Acer                                     supporting
                                  20   13)                                                                           declaration)
                                       1886-404-1/(1885-   Ex. 16,                 Redacted portions identified in   GRANTED
                                  21   440-14; 1886-397-   Objections/Responses    public filing
                                       14; 1888-371-13;    to Philips’
                                  22   1890-351-14)        Interrogatories to
                                                           Asus
                                  23
                                       1885-447-4/(1885-   Ex. 18, Second          Redacted portions identified in   GRANTED
                                  24   440-15; 1886-397-   Supplemental            public filing
                                       15; 1888-371-14;    Objections and
                                  25   1890-351-15)        Responses to Philips’
                                                           Interrogatories
                                  26   1885-467-4; 1886-   Plaintiffs’ Reply to    Redacted portions identified in   GRANTED
                                  27   437-4; 1888-397-4; Microsoft’s              public filing
                                       1890-377-4/(1885-   Opposition to
                                  28   467-5; 1886-437-5; Plaintiffs’ Motion to
                                                                                   5
                                        Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 6 of 9



                                       1888-397-5; 1890-     Consolidate
                                   1   377-5)
                                   2   Entire document       Ex. 1, Excerpts from    Entire document                   GRANTED
                                       sealed/(1885-467-3;   Shang Depo.
                                   3   1886-437-3; 1888-
                                       397-3; 1890-377-3)
                                   4   1885-471-3; 1886-     Plaintiffs’ Reply to    Redacted portions identified in   GRANTED
                                       439-3; 1888-399-3;    Defendants’             public filing
                                   5
                                       1890-379-3/(1885-     Opposition to
                                   6   469-3; 1885-471-4;    Plaintiffs’ Motion to
                                       1886-439-4; 1888-     Consolidate
                                   7   399-4; 1890-379-4)
                                       1885-474-25; 1886-    Plaintiffs’ Reply to    Redacted portions identified in   GRANTED
                                   8   442-25; 1887-297-     HTC’s Response to       public filing
                                   9   25; 1888-401-25;      Philips’ Motion to
                                       1890-381-25/(1885-    Consolidate
                                  10   474-26; 1886-442-
                                       26; 1887-297-26;
                                  11   1888-401-26; 1890-
                                       381-26)
                                  12
Northern District of California




                                       No Public Version     Ex. 3, Excerpts from    Entire document                   DENIED (no
 United States District Court




                                  13   Filed/(1885-474-3;    Third Amended                                             supporting
                                       1886-442-3; 1887-     Infringement                                              declaration)
                                  14   297-3; 1888-401-3;    Contentions
                                       1890-381-3)
                                  15   No Public Version     Ex. 4, Excerpts from    Entire Document                   DENIED (no
                                       Filed/(1885-474-4;    Third Amended                                             supporting
                                  16
                                       1886-442-4; 1887-     Infringement                                              declaration)
                                  17   297-4; 1888-401-4;    Contentions
                                       1890-381-4)
                                  18   1886-444-1/(1885-     Ex. 5, Excerpts from    Entire Document                   DENIED (no
                                       474-5; 1886-442-5;    Third Amended                                             supporting
                                  19   1887-297-5; 1888-     Infringement                                              declaration)
                                  20   401-5; 1890-381-5)    Contentions
                                       No Public Version     Ex. 6, Excerpts from    Entire Document                   DENIED (no
                                  21   Filed/(1885-474-6;    Third Amended                                             supporting
                                       1886-442-6; 1887-     Infringement                                              declaration)
                                  22   297-6; 1888-401-6;    Contentions
                                       1890-381-6)
                                  23
                                       No Public Version     Ex. 7, Excerpts from    Entire Document                   DENIED (no
                                  24   Filed/(1885-474-7;    Infringement                                              supporting
                                       1886-442-7; 1887-     Contentions                                               declaration)
                                  25   297-7; 1888-401-7;
                                       1890-381-7)
                                  26   No Public Version     Ex. 8, Excerpts from    Entire Document                   DENIED (no
                                       Filed/(1885-474-8;    Third Amended                                             supporting
                                  27
                                       1886-442-8; 1887-     Infringement                                              declaration)
                                  28   297-8; 1888-401-8;    Contentions

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                                        Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 7 of 9



                                       1890-381-8)
                                   1
                                       1886-444-1/(1885-     Ex. 9, Excerpts from    Entire Document     DENIED (no
                                   2   474-9; 1886-442-9;    Third Amended                               supporting
                                       1887-297-9; 1888-     Infringement                                declaration)
                                   3   401-9; 1890-381-9)    Contentions
                                       No Public Version     Ex. 10, Excerpts from   Entire Document     DENIED (no
                                   4   Filed/(1885-474-10;   Third Amended                               supporting
                                       1886-442-10; 1887-    Infringement                                declaration)
                                   5
                                       297-10; 1888-401-     Contentions
                                   6   10; 1890-381-10)
                                       No Public Version     Ex. 11, Excerpts from   Entire Document     DENIED (no
                                   7   Filed/(1885-474-11;   Third Amended                               supporting
                                       1886-442-11; 1887-    Infringement                                declaration)
                                   8   297-11; 1888-401-     Contentions
                                   9   11; 1890-381-11)
                                       No Public Version     Ex. 12, Excerpts from   Entire Document     DENIED (no
                                  10   Filed/(1885-474-12;   Third Amended                               supporting
                                       1886-442-12; 1887-    Infringement                                declaration)
                                  11   297-12; 1888-401-     Contentions
                                       12; 1890-381-12)
                                  12
Northern District of California




                                       1886-444-1/(1885-     Ex. 13, Excerpts from   Entire Document     DENIED (no
 United States District Court




                                  13   474-13; 1886-442-     Third Amended                               supporting
                                       13; 1887-297-13;      Infringement                                declaration)
                                  14   1888-401-13; 1890-    Contentions
                                       381-13)
                                  15   No Public Version     Ex. 14, Excerpts from   Entire Document     DENIED (no
                                       Filed/(1885-474-14;   Third Amended                               supporting
                                  16
                                       1886-442-14; 1887-    Infringement                                declaration)
                                  17   297-14; 1888-401-     Contentions
                                       14; 1890-381-14)
                                  18   No Public Version     Ex. 15, Excerpts from   Entire Document     DENIED (no
                                       Filed/(1885-474-15;   Third Amended                               supporting
                                  19   1886-442-15; 1887-    Infringement                                declaration)
                                  20   297-15; 1888-401-     Contentions
                                       15; 1890-381-15)
                                  21   No Public Version     Ex. 16, Excerpts from   Entire Document     DENIED (no
                                       Filed/(1885-474-16;   Third Amended                               supporting
                                  22   1886-442-16; 1887-    Infringement                                declaration)
                                       297-16; 1888-401-     Contentions
                                  23
                                       16; 1890-381-16)
                                  24   1886-444-1/(1885-     Ex. 17, Excerpts from   Entire Document     DENIED (no
                                       474-17; 1886-442-     Third Amended                               supporting
                                  25   17; 1887-297-17;      Infringement                                declaration)
                                       1888-401-17; 1890-    Contentions
                                  26   381-17)
                                  27   No Public Version     Ex. 18, Excerpts from   Entire Document     DENIED (no
                                       Filed/(1885-474-18;   Huang Depo.                                 supporting
                                  28   1886-442-18; 1887-                                                declaration)
                                                                                     7
                                         Case 4:18-cv-01885-HSG Document 486 Filed 09/24/18 Page 8 of 9



                                        297-18; 1888-401-
                                   1    18; 1890-381-18)
                                   2    No Public Version     Ex. 19, Excerpts from   Entire Document                DENIED (no
                                        Filed/(1885-474-19;   Chiu Depo.                                             supporting
                                   3    1886-442-19; 1887-                                                           declaration)
                                        297-19; 1888-401-
                                   4    19; 1890-381-19)
                                        No Public Version     Ex. 20, Excerpts from   Entire Document                DENIED (no
                                   5
                                        Filed/(1885-474-20;   Pan Depo.                                              supporting
                                   6    1886-442-20; 1887-                                                           declaration)
                                        297-20; 1888-401-
                                   7    20; 1890-381-20)
                                        No Public Version     Ex. 21, Excerpts from   Entire Document                DENIED (no
                                   8    Filed/(1885-474-21;   Lin Depo.                                              supporting
                                   9    1886-442-21; 1887-                                                           declaration)
                                        297-21; 1888-401-
                                  10    21; 1890-381-21)
                                        No Public Version     Ex. 22, Excerpts from   Page 99, line 1 through page   GRANTED
                                  11    Filed/(1885-474-22;   Yeh Depo.               102, line 24
                                        1886-442-22; 1887-
                                  12
Northern District of California




                                        297-22; 1888-401-
 United States District Court




                                  13    22; 1890-381-22)
                                        1886-444-2/(1885-     Ex. 23, Excerpts from   Entire Document                GRANTED
                                  14    474-23; 1886-442-     Huang Depo.
                                        23; 1887-297-23;
                                  15    1888-401-23; 1890-
                                        381-23)
                                  16
                                        No Public Version     Ex. 24, Excerpts from   Entire Document                DENIED (no
                                  17    Filed/(1885-474-24;   Zhong Depo.                                            supporting
                                        1886-442-24; 1887-                                                           declaration)
                                  18    297-24; 1888-401-
                                        24; 1890-381-24)
                                  19

                                  20
                                       III.   CONCLUSION
                                  21
                                              For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART Dkt.
                                  22
                                       Nos. 440 and 474 (Case No. 18-cv-1885-HSG); Dkt. Nos. 397 and 442 (Case No. 18-cv-1886-
                                  23
                                       HSG); Dkt. No. 297 (Case No. 18-cv-1887-HSG); Dkt Nos. 371, 401 (Case No. 18-cv-1888-
                                  24
                                       HSG); and Dkt. Nos. 351, 381 (Case No. 18-cv-1890-HSG) and GRANTS Dkt. Nos. 450, 467,
                                  25
                                       471 (Case No. 18-cv-1885-HSG); Dkt. Nos. 407, 437, 439 (Case No. 18-cv-1886-HSG); Dkt. Nos.
                                  26
                                       379, 397, 399 (Case No. 18-cv-1888-HSG); and Dkt. Nos. 360, 377, 379 (Case No. 18-cv-1890-
                                  27
                                       HSG). Dkt. No. 469 (Case No. 18-cv-1885-HSG) is terminated as moot.
                                  28
                                                                                      8
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                                   1          The Court DIRECTS the parties to file public versions of all documents for which the

                                   2   proposed sealing has been denied and/or for which no public version has been filed, as indicated in

                                   3   the chart above. Pursuant to Civil Local Rule 79-5(f)(1), documents filed under seal as to which

                                   4   the administrative motions are granted will remain under seal. The public will have access only to

                                   5   the redacted versions accompanying the administrative motions.

                                   6          IT IS SO ORDERED.

                                   7   Dated: 9/24/20187

                                   8                                                  ______________________________________
                                                                                      HAYWOOD S. GILLIAM, JR.
                                   9                                                  United States District Judge
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                                  12
Northern District of California
 United States District Court




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